            Case 6:18-bk-02237-CCJ         Doc 18     Filed 05/30/18      Page 1 of 6



                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

In re:
James E Albrecht,                                    Case No.: 6:18-bk-02237
                                                     Chapter 7

      Debtor
_______________________________/

           VANDERBILT MORTGAGE AND FINANCE, INC.’S RESPONSE
         TO TRUSTEE’S RESPONSE TO MOTION FOR RELIEF FROM STAY

       Comes now Vanderbilt Mortgage and Finance, Inc., and files its written response to the

Trustee’s Response to Motion for Relief from Stay (D.E. 13) as follows:

       1.    The Debtor filed the instant Chapter 7 Bankruptcy on April 19, 2018.

       2.     The sworn schedules signed and filed, by the Debtor, (D.E. 1), show one property

             on Schedule “A”.

              a. Single Family Home: 19 Volusia Drive, Debary, FL 32713-3217 with a value

                    of $88,311.00.

       3.    The sworn schedules signed and filed, by the Debtor (D.E. 1) state that “Vanderbilt

             Mortgage” is a secured creditor for the property located at 19 Volusia Drive,

             Debary, FL 32713-3217, with a claim in the amount of $105,981.00. The Debtor

             has not marked the account as disputed or contingent. In addition, the Debtor has

             indicated his intent to surrender the property.

       4.    The property that is subject to the Motion for Relief, is 19 Volusia Drive, Debary,

             FL 32713-3217 and the Motion for Relief from Stay was filed by Vanderbilt

             Mortgage and Finance, Inc.
     Case 6:18-bk-02237-CCJ        Doc 18     Filed 05/30/18       Page 2 of 6



5.    The Trustee’s objection to the motion is based on a lack of an assignment of

      mortgage.

6.    The issues dealing with assignments and transfers would be better dealt with in the

      Circuit Court through the foreclosure process, however Florida Law provides:

       a. Vanderbilt has standing to bring this Motion for Relief. Vanderbilt is not

          required to produce an Assignment of the Mortgage pursuant to applicable law

          since it is in possession of the original Note, which has been endorsed in blank

          and is therefore the holder as defined by Florida law.

       b. Where a note secured by a mortgage is transferred without any formal

          assignment of the mortgage, the mortgage in equity passes as an incident to

          the debt, unless there is some plain and clear agreement to the contrary. Johns

          v. Gillian, 184 So. 2d 140 (Fla. 1938). “A mere delivery of a note and

          mortgage, with intention to pass the title, upon proper consideration, will vest

          the equitable interest in the person to whom it is so delivered.” Id. at 143.

          “Because the lien follows the debt, there was no requirement of attachment of

          a written and recorded assignment of the mortgage in order for the appellant

          to maintain the foreclosure action.” Chemical Residential Mortgage v. Rector,

          742 So. 2d 300 (Fla. 1st DCA 1998), rev. denied 727 So. 2d 910 (1999). To

          foreclose upon a promissory note, the plaintiff must be the “holder” in order

          to be the real party in interest. Troupe v. Redner, 652 So. 2d 394 (Fla. 2d DCA

          1995), citing Withers v. Sandlin, 36 Fla. 619, 18 So. 856 (1896); Laing v.

          Gainey Builders, Inc., 184 So. 2d 897 (Fla. 1st DCA 1966). The “holder,”

          with respect to a negotiable instrument, means the person in possession if the
     Case 6:18-bk-02237-CCJ         Doc 18     Filed 05/30/18    Page 3 of 6



            instrument is payable to Bearer or, in the case of an instrument payable to an

            identified person, the identified person if said identified person is in

            possession. §671.201(20), Florida Statutes (2002). “Bearer” means the person

            in possession of an instrument, document of title, or certificated security

            payable to bearer or indorsed in blank. §671.201(5), Florida Statutes (2002).

7.    Vanderbilt filed a foreclosure action in the case styled Vanderbilt Mortgage and

      Finance, Inc. vs. Cassandra K. Mettler and James Albrecht, et. al., Case Number

      2016 11820 CIDL (Volusia County Circuit Court).

8.    On January 25, 2018 the Circuit Court entered a In Rem Final Summary Judgment

      of Foreclosure. The total amount due on the Final Judgment of Foreclosure is

      $130,760.54, plus post-judgement interest, fees and cost. A copy of the In Rem

      Final Summary Judgment of Foreclosure is attached as “Exhibit A”.

9.     Movant holds a lien for the grand total sum specified in the In Rem Final Summary

      Judgment of Foreclosure. The lien was determined to be a superior lien and

      encumbers the subject property located in Volusia County, Florida and described

      as:
             Case 6:18-bk-02237-CCJ        Doc 18   Filed 05/30/18    Page 4 of 6



        WHEREFORE, PREMISES CONSIDERED, Vanderbilt prays that the Court will

overrule the Trustee’s Response to Motion for Relief from Stay and that Movant have such other

and further relief as is just.

        DATED this 30th day of May 2018.


                                            Respectfully submitted,

                                            /S/ Seth Greenhill
                                            ___________________________________
                                            SETH GREENHILL, ESQ.
                                            Florida Bar # 97938
                                            PADGETT LAW GROUP
                                            6267 Old Water Oak Road, Suite 203
                                            Tallahassee, FL 32312
                                            (850) 422-2520 (telephone)
                                            (850) 422-2567 (facsimile)
                                            SGreenhill@padgettlaw.net
                                            Attorney for Creditor
           Case 6:18-bk-02237-CCJ     Doc 18   Filed 05/30/18   Page 5 of 6



                              CERTIFICATE OF SERVICE

    I HEREBY CERTIFY that on this 30th day of May 2018, a true and correct copy of the
foregoing was served by U.S. Mail, First Class, and/or electronic transmission to:


   Debtor
   James E Albrecht
   19 Volusia Dr.
   Debary, FL 32713-3217

   Attorney for Debtor
   Charles W Price
   Price Law Firm
   400 Maitland Avenue
   Altamonte Springs, FL 32701

   Trustee
   Dennis D Kennedy
   P. O. Box 541848
   Merritt Island, FL 32954
                                       /S/ Seth Greenhill
                                       ___________________________________
                                       SETH GREENHILL, ESQ.
                                       Florida Bar # 97938
                                       PADGETT LAW GROUP
Case 6:18-bk-02237-CCJ   Doc 18      Filed 05/30/18   Page 6 of 6



                         Exhibit A
